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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
_______________________________________ X

DAVID FITZGERALD,
PlElll'lflff_. 16 Civ_
- against - '

ETSY, INC.,
Complaint and Jur'y Demand

Def`endant. :
_______________________________________ X

Plaintiff`, David Fitzgerald, by and through his attorney, Corey Stark PLLC, complains of

Der`endant and respectfully sets forth to this Court as follows:
NATURE OF THE ACTION

l. This is an action to recover damages for Det`endant’s discrimination on the basis of
age in the terms, conditions, and privileges of employment under the Age Discrimination in
Employment Act, 29 U.S.C. §621, er seq. (“ADEA”), gender in the terms, conditions and
privileges of employment under Title VII of the Civil Rights Act of 1964 as amended, 42 U.S.C.
§2000e, er seq. (“Title Vll”), age and gender in the terms, conditions, and privileges of
employment under the New York Executive Law §29{}, er seq. ("‘NYSHRL”), and age and gender
in the terms, conditions, and privileges of employment under the Administrative Code of the City
of New York §8-80! , er seq. (“NYCHRL”). This is also an action to recover damages for illegal
retaliation

MJL)_§
2. The Court hasjurisdiction over this action pursuant to 23 U.S.C. §1331, 28 U.S.C.

§1343(4), and 28 U.s.c. §1367.

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3. Venue is proper in the Eastern District of New York, pursuant to 28 U.S.C. §1391,
because the Eastern District of New York is the judicial district in the state in which the unlawful
employment practices are alleged to have been committed
PRERE UISITES
4. Plaintiff filed a Charge ofDiscrimination with the United States Equal Employment
Opportunity Commission (“EEOC”), which was accepted for filing and investigation
5. On May 31, 2016, the EEOC issued aNotice ofRight to Sue (“Right-to-sue Letter”)

which permitted Plaintiff to file a civil action within 90 days of Plaintiff"s receipt of the Right-to~

sue Letter.

6. Plaintiff commenced this action within 90 days of his receipt of the Right-to-sue
Letter.

'?. Before filing the complaint in this action, Plaintiff caused a copy of the same to be

served upon the Corporation Counsel of the City ofNew York and the New York City Cornmission
on Human Rights.
PARTIES
8. Plaintiff, David Fitzgerald (“Plaintiff”), is male and his date of birth is June 2, 19?2.
9. At all times hereinafter mentioned, Plaintiff was a resident of the State of New
York.
10. At all times material herein, Plaintiff was an “Employee” entitled to protection with

the meaning of the ADEA, Title VII, the NYSHRL, and the NYCHRL.

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1]. Defendant, Etsy, Inc. ("‘Etsy"'), is a foreign corporation with its principal office
located at 117 Adams Street in Brooklyn, within the County ofKings and the State of New York.

12. Upon information and belief, Etsy was and still is an online marketplace for
handmade or Vintage items and supplies, as well as unique factory-manufactured items.

13. Etsy is an “Employer” within the meaning of the ADEA, Title VII, the NYSHRL,
and the NYCHRL.

14. This action arises out ofEtsy’s wrongful, illegai, and tortious conduct within the
State of New York.

BACKGROUND

15. Plaintiff earned a Bachelor of Arts degree in Communications and Journalism from
Rutgers University.

16. Plaintiff has had a well-established career as a corporatefexecutive recruiter for
more than a decade.

l'i'. On April 8, 20]4, Plaintiff commenced his employment by Etsy with the title or
position of Senior Corporate Recruiter.

18. For the majority of his employment by Etsy, Plaintiff reported to a male Senior
Director who is nearly 40 years old.

19. Plaintiff has successfully recruited talent for Etsy’s tinance, legal, marketing, and
research departmentsl

20. Although Etsy did not engage in a practice of providing its employees With annual
written performance appraisals, Plaintiff’s supervisor consistently commended him on his work

performance

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21. Indeed, Plaintiff` received an “Etsy Value Award,” which is Etsy’s method of
recognizing excellent work performance

22. At all times during the course of his employment by Etsy and up to the last day of
his employment, Plaintiff performed his services competently, faithfully, diligently, and in an
outstanding manner.

23. At all times relevant herein, Plaintiff was the oldest Recruiter that Etsy employed

24. Despite Plaintiff’s excellent work performance and experience, Etsy promoted a

younger, less qualified, female employee to the position of Manager instead of Plaintiff`.

25. Upon information and belief`, Etsy has also engaged in a practice of replacing many

of its management-level employees with younger and less qualified female employeesl

26. Despite Plaintiff"s excellent performance record, Etsy placed Plaintiff on a 319-day
performance improvement plan (the "‘PlP”).

27. The PIP described some alleged performance deficiencies including improving
communications with a younger. female member of`Etsy’s Human Resources Department who has
a poor performance record.

28. While the PIP was pending, this younger, female member of the Human Resources
[)epartment canceled all meetings that Plaintiff had scheduled for purposes of communicating with
her.

29. Although Plaintiff achieved all benchmarks from the PIP, on February 26, 2016,
Etsy terminated Plaintiff`s employment without cause.

30. Upon information and belief, Plaintiff`s age was the motivating factor in Etsy’s

decision to terminate Plaintiff"s employment

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31. Upon information and belief, Etsy has replaced Plaintiff with a younger, less
qualified, female employee.

32. Upon information and belief_. Etsy engages in the practice of terminating skilled,
high-performing, male employees in order to make room for additional female employees This

is particularly true in Plaintiff`s business functions group, which is now comprised of more than
75% females

HOSTILE WORK ENVIRONMENT & DISPARATE TREATM ENT

 

33. During Plaintiff`s employment, Etsy created, promoted, and maintained a
pervasively hostile work environment and atmosphere

34. Various management-level employees were well aware of Plaintiff's age and
gender.

35. Plaintiff was singled out for harassment based upon his age and gender.

36. Etsy treated Plaintiff differently than similarly situated younger, female employees
based upon his age and gender. The age and gender-related harassment and disparate treatment
included, without limitation, the following:

(a) promoting Plaintiff’s younger, female comparatch even after the younger, female
comparators had made significant errors;

(b) condemning Plaintiff for making an insignificant error while at the same time
excusing multiple errors made by a younger, female employee;

(c) reassigning Plaintiff’ s work to younger, female employees;

(d) failing to evaluate Plaintiff work performance before putting him on the PIP;

(e) hyper-supeivising Plaintiff’s work;

(_f) refusing to meet with Plaintiff;

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(g) allowing younger, female employees a much longer opportunity to address alleged
performance deficiencies through a performance improvement plan; and
(ii) fabricating proof that Plaintiff had performance problems after it was exposed that
Plaintiff had, on the contrary, a sterling performance record.
37. Plaintiff issued complaints concerning some of the foregoing conduct
38. Etsy fostered the pervasively hostile work environment by failing to take action to
remedy the situation.
39. The campaign of harassment and disparate treatment continued until February 26,
2016, when Etsy terminated Plaintiff` s employment without cause.
40. The reason given for Plaintiff`s termination was Plaintiff"s purported performance
deficiencies
41, Upon information and belief, Etsy’s reason for terminating Plaintiff"s employment
was a pretext for discrimination, and Plaintiff’s age and gender were the true reasons for Etsy’s
decision to terminate Plaintiff’ s employment
RETALIATION
42. Upon information and belief_, at all times material herein Etsy had a policy

prohibiting discrimination/harassment in the workplace

43. On February 11, 2016, Piaintiff issued a written complaint of age and gender
discrimination

44. Etsy failed to investigate or address Plaintiff”s discrimination complaint

45. After Plaintiff issued the discrimination complaint, the discrimination and

harassment that he was subjected to only intensified

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46. For example, after Plaintiff had issued his discrimination complaint, Etsy stopped
assigning him requisitions for new hires, allegedly restructured its work assignment system to rob
Plaintiff of work assignments and transfer them to younger employees and posted an
advertisement for Plaintiff"s job.

4?'. On February 26, 2016, Etsy addressed Plaintiff’s discrimination complaint by
terminating Plaintiff’ s employment without cause.

48. Plaintiff"s discrimination complaint was the motivating factor in Etsy’s decision to
terminate Plaintiff’s employment

AS AND FOR A FIRST COUNT

49. Plaintiff repeats and realleges each and every allegation contained in paragraphs of
the Complaint numbered “1" through “48" inclusive with the same force and effect as if fully set
forth at length herein.

50. Etsy unlawfully discriminated against Plaintiff with respect to the terms and
conditions of his employment because of his age. By reason thereof, Etsy has violated the ADEA.

51. As a direct and proximate result of Etsy’s unlawful discriminatory practices as
described herein, Plaintiff was humiliated and embarrassed within the work atmosphere, which
was brought about by virtue of Etsy’ s systematic and continuous unlawful harassment and multiple
discriminatory practices and acts

52. As a direct and proximate result of Etsy’s discriminatory practices Plaintiff has

also sustained significant economic damages

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AS AND FOR A SECOND COUNT

53. Plaintiff repeats and realleges each and every allegation contained in paragraphs of
the Complaint numbered "‘1" through “48" inclusive with the same force and effect as if fully set
forth at length herein

54. Etsy unlawfully discriminated against Plaintiff with respect to the terms and
conditions of his employment because of his gender. By reason thereof, Etsy violated Title VII.

55. By virtue of the acts complained ofherein, the hostile work environment at Etsy
was sufficiently severe and pervasive to alter the terms and conditions of Plaintiff’ s employment
and create a subjectively and objectively abusive!discriminatory work environment By reason
thereof, Etsy violated Title VII.

56. As a direct and proximate result of Etsy’s unlawful discriminatory practices as
described herein, Plaintiff was humiliated and embarrassed within the work atmosphere, which
was brought about by virtue of the Etsy’s systematic and continuous unlawful harassment and
multiple discriminatory practices and acts

5?. As a direct and proximate result of Etsy’s discriminatory practices, Plaintiff has
sustained substantial damages the amount of which is to be determined by a jury.

AS AND FOR A THIRD COUNT

58. Plaintiff repeats and realleges each and every allegation contained in paragraphs of
the Complaint numbered “l” through “48” inclusive with the same force and effect as if`fully set
forth at length herein

59. Etsy unlawfully discriminated against Plaintiff with respect to the terms and
conditions of` his employment because of his age and gender. By reason thereof, Etsy violated the

NYCHRL,

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60. As a direct and proximate result of Etsy’s unlawful discriminatory practices as
described herein, Plaintiff was humiliated and embarrassed within the work atmosphere, which
was brought about by virtue of Etsy’s systematic and continuous unlawful harassment and multiple
discriminatory practices and acts.

61. As a direct and proximate result of Etsy’s discriminatory practices Plaintiff has
also sustained significant economic damages

AS AND FOR A FOURTH COUNT

62. Plaintiff repeats and realleges each and every allegation contained in paragraphs of
the Complaint numbered “l” throuin “48” inclusive with the same force and effect as if fully set
forth at length herein

63. Etsy unlawfully discriminated against Plaintiff with respect to the terms and
conditions of his employment because of his age and gender. By reason thereof, Etsy has violated
the NYSHRL.

64. As a direct and proximate result of Etsy’s unlawful discriminatory practices as
described herein, Plaintiff was humiliated and embarrassed within the work atmosphere, which
was brought about by virtue of Etsy’s systematic and continuous unlawful harassment and multiple
discriminatory practices and acts

65. As a direct and proximate result of Etsy’s discriminatory practices Plaintiff has
also sustained significant economic damages

AS AND FOR A FIFTH COUNT

66. Plaintiff repeats and realleges each and every allegation contained in paragraphs of

the Complaint numbered “] " through “48" inclusive with the same force and effect as if fully set

forth at length herein

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6'?'. Etsy retaliated against Plaintiff in violation of the ADEA.

68. As a direct and proximate result of Etsy’s unlawful retaliation as described above,
Plaintiff was humiliated and embarrassed within the work atmosphere and suffers from physical
manifestations of said humiliation and embarrassment, which were brought about by virtue of
Etsy’s systematic and continuous unlawful harassment and multiple retaliatory practices

69. As a direct and proximate result of Etsy’s retaliatory practices Plaintiff has also
sustained significant economic damages

AS AND FOR A SIXTH COUNT

?0. Plaintiff repeats and realleges each and every allegation contained in paragraphs of
the Complaint numbered "`l " through “48" inclusive with the same force and effect as if fully set
forth at length herein

71. Etsy retaliated against Plaintiffin violation of Title Vll.

?2. As a direct and proximate result of Etsy’s unlawful retaliation as described above,
Plaintiff was humiliated and embarrassed within the work atmosphere and suffers from physical
manifestations of said humiliation and embarrassment, which were brought about by virtue of
Etsy’s systematic and continuous unlawful harassment and multiple retaliatory practices

'?3. As a direct and proximate result of Etsy’s retaliatory practices Plaintiff has also
sustained significant economic damages

AS AND FOR A SEVENTH COUNT

?4. Plaintiff repeats and realleges each and every allegation contained in paragraphs of
the Complaint numbered “l'l through “48" inclusive with the same force and effect as if fully set
forth at length herein

75. Etsy retaliated against Plaintiff in violation of the NYCHRL.

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76. As a direct and proximate result of Etsy’s unlawful retaliation as described above,
Plaintiff was humiliated and embarrassed within the work atmosphere and suffers from physical
manifestations of said humiliation and embarrassment, which were brought about by virtue of
Etsy’s systematic and continuous unlawful harassment and multiple retaliatory practices

??'. As a direct and proximate result of Etsy’s retaliatory practices Plaintiff has also
sustained significant economic damages

AS AND FOR AN EIGHTH COUNT

78. Plaintiff repeats and realleges each and every allegation contained iri paragraphs of
the Amended Complaint numbered “l " through “48" inclusive with the same force and effect as if
fully set forth at length herein

?`9. Etsy retaliated against Plaintiff in violation of the NYSHRL.

80. As a direct and proximate result of Etsy’s unlawful retaliation as described above,
Plaintiff was humiliated and embarrassed within the work atmosphere and suffers from physical
manifestations of said humiliation and embarrassment, which were brought about by virtue of
Etsy"s systematic and continuous unlawful harassment and multiple retaliatory practices

8]. As a direct and proximate result Etsy`s retaliatory practices Plaintiff has also
sustained significant economic damages

WHEREFORE, Plaintiff demands the following relief:

a) a money judgment against Defendant for his damages including but not limited to
lost wages liquidated damages lost benefits other economic damages shame,
humiliation, embarrassment, and mental distress

b) reinstatement or in the alternative front pay;

c) an award of punitive damages and attorneys’ fees;

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e) prejudgment interest and costs; and

f) such further and additional relief as the Court deems just and appropriate under the

circumstances

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JURY DEMAND

Plaintiff demands a trial by jury in this action

Dated: New York, New York

June 16, 2016

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COREY STARK PLLC

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